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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR10-311-TSZ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ANDRANIK GUYLASARYAN,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Fraud; Bank Fraud

15 Date of Detention Hearing:     January 25, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant left the country shortly after the instant charges were filed. Since



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01 then, he has lived in Amsterdam, the Czech Republic, Russian, Armenia, Thailand, Malaysia,

02 and back to Armenia and Russia before returning to the United States voluntarily to surrender.

03 His brother and at least one other co-conspirator are still at large. The AUSA alleges that

04 defendant indicated an intent to return to the United States to face the charges over a year ago,

05 but he did not do so until recently. The government believe that defendant would have had

06 access to large amounts of cash from the alleged conspiracy, and other friends and relatives who

07 could help him flea if he chose to do so again.

08          2.     The AUSA proffers that defendant was on probation for an attempted credit card

09 fraud conviction in California at the time the instant charges were allegedly committed.

10          3.     The defendant poses a risk of nonappearance due to being a fugitive on the

11 current charges since 2010, possible Armenian citizenship, and a history of international travel.

12 He poses a risk of danger due to possible criminal history as well as the nature of the charges.

13          4.     There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the

15 danger to other persons or the community.

16 It is therefore ORDERED:

17      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

18          General for confinement in a correction facility separate, to the extent practicable, from

19          persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21          counsel;

22      3. On order of the United States or on request of an attorney for the Government, the



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01        person in charge of the corrections facility in which defendant is confined shall deliver

02        the defendant to a United States Marshal for the purpose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Pretrial Services

06        Officer.

07        DATED this 25th day of January, 2012.

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09                                                      A
                                                        Mary Alice Theiler
10                                                      United States Magistrate Judge

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